          Case 21-13236-djb                     Doc          Filed 03/19/25 Entered 03/19/25 12:53:04                                        Desc Main
                                                              Document     Page 1 of 8
 Fill in this information to identify the case:

 Debtor 1              Sharon Smith

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Eastern District of Pennsylvania (Philadelphia)
                                                                                           (State)
 Case number           21-13236




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                          12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Wilmington Savings Fund Society, FSB, as                                  Court claim no. (if known): 23
Trustee of Stanwich Mortgage Loan Trust I


   Last 4 digits of any number you use to                                                      Date of payment change:
   identify the debtor's account:                            XXXXXX2794                        Must be at least 21 days after date       5/01/2025
                                                                                               of this notice


                                                                                               New total payment:                        $ 547.18
                                                                                               Principal, interest, and escrow, if any

 Part 1:        Escrow Account Payment Adjustment


 1. Will there be a change in the debtor's escrow account payment?
            No
      ✓     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:            $ 170.09                                           New escrow payment: $ 167.65


 Part 2:        Mortgage Payment Adjustment


 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?
      ✓     No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                    %                            New interest rate:                      %

                       Current principal and interest payment: $                                             New principal and interest payment: $


 Part 3:        Other Payment Change




Official Form 410S1                                                    Notice of Mortgage Payment Change                                                 page 1
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                                                    Document     Page 2 of 8
 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
     ✓   No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)
              Reason for change:
              Current mortgage payment:        $                                      New mortgage payment: $




Official Form 410S1                                      Notice of Mortgage Payment Change                                          page 2
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Debtor 1           Sharon Smith                                                            Case number (if known) 21-13236
                   First Name        Middle Name        Last Name




 Part 4:        Sign Here



    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
    ✓        I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:



      /s/ Randall Miller                                                                        Date March,15, 2025
    Signature



    Print:                 Randall Miller__                                                    Title     Agent
                           First Name                   Middle Name     Last Name



    Company                Carrington Mortgage Services, LLC



    Address                43252 Woodward Avenue, Suite180______________________________
                           Number              Street

                           Bloomfield Hills, MI 48302______________________________________
                           City                                        State        ZIP Code



Contact phone              (248) 335-9200     Email         bankruptcy@rsmalaw.com




Official Form 410S1                                                    Notice of Mortgage Payment Change                                 page 3
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                                                                                                                                         9811-02-b1-0000980-0001-0002656
                                                             Document     Page 4 of 8
                                                 1600 South Douglass Road                   Your Escrow Statement
                                                 Suites 110 & 200-A
                                                 Anaheim, CA 92806                            Property Address: 217 W SPENCER AVE
                                                                                                           PHILADELPHIA, PA 19120
                                                                                                         Statement Date: 02/24/25
           Important information inside!                                                                Loan number:

                                                                                                                   Questions?
           0000980    SP          9811      -C02-P00000-I
                                                                                                                  1-800-561-4567
                                                                                                    www.CarringtonMortgage.com
                     SHARON SMITH
                     217 W SPENCER AVE
                     PHILADELPHIA     PA 19120




           Thank you for being the best part of our Carrington family.
           You are receiving this statement because we have completed your escrow analysis review.

           Your escrow account is an account that we manage on your behalf to pay for your insurance
           and taxes. For more information and resources regarding escrow, login to your Carrington Account
           and select “Escrow Summary” under “Customer Request” on the left menu.




           YOUR NEW PAYMENT:                        EFFECTIVE 05/01/25
                                             CURRENT                NEW                               ANALYSIS SUMMARY
                                             PAYMENT             PAYMENT       CHANGE

           Principal & interest                  $379.53           $379.53     ----------              You have a surplus of:
           Escrow payment                        $170.09           $168.81       -$1.28                      $13.97
           Surplus reduction                                          -$1.16      -$1.16                 13.97 / 12 = -$1.16
           Total                                 $549.62           $547.18      -$2.44

           Your escrow account has a surplus amount less than $50.00. We will divide the amount by 12 and apply
           it towards your escrow amount to reduce your monthly payment as shown above.

           Your escrow payment over the next 12 months:
           We estimate your total taxes and/or insurance payments to be $2,025.83 for the next 12 months. Here is
           how we calculated your new monthy escrow payment:
           Home insurance                                    $1,357.83           Total escrow                             $2,025.83
           FHA mtg ins                                         $85.68            Divided by 12 months                            12
           City tax                                           $582.32
                                                                                 New monthly escrow payment                    $168.81
           Total escrow                                      $2,025.83



        Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                          Page 1 of 4
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                                                                                                                                    9811-02-b1-0000980-0001-0002656
                                                      Document     Page 5 of 8              Statement Date: 02/24/25
                                                                                                     Loan number:



            Any changes to your taxes and insurance are determined by your taxing authorities and insurance
            providers, not Carrington Mortgage Services, LLC.


        PROJECTED ESCROW ACTIVITY 05/25 – 04/26
                         PAYMENT TO           ESTIMATED                                      PROJECTED              REQUIRED
         DATE                                           DESCRIPTION
                            ESCROW        DISBURSEMENT                                  ESCROW BALANCE        ESCROW BALANCE
                                                                   BEGINNING BALANCE:          $1,371.80             $1,357.83
         05/25                $168.81                $7.14   FHA mtg ins                       $1,533.47              $1,519.50
         06/25                $168.81            $1,357.83   Home insurance                       $337.31              $323.34
                             ----------              $7.14   FHA mtg ins                         ----------            ----------
         07/25                $168.81                $7.14   FHA mtg ins                        $498.98                $485.01
         08/25                $168.81                $7.14   FHA mtg ins                         $660.65               $646.68
         09/25                $168.81                $7.14   FHA mtg ins                         $822.32               $808.35
         10/25                $168.81                $7.14   FHA mtg ins                         $983.99               $970.02
         11/25                $168.81                $7.14   FHA mtg ins                        $1,145.66              $1,131.69
         12/25                $168.81                $7.14   FHA mtg ins                       $1,307.33             $1,293.36
         01/26                $168.81                $7.14   FHA mtg ins                       $1,469.00             $1,455.03
         02/26                $168.81                $7.14   FHA mtg ins                       $1,630.67              $1,616.70
         03/26                $168.81                $7.14   FHA mtg ins                        $1,210.02             $1,196.05
                             ----------           $582.32    City tax                            ----------            ----------
         04/26                $168.81                $7.14   FHA mtg ins                        $1,371.69             $1,357.72



             Lowest Projected             Lowest Projected Balance = the lowest projected point over your 12 month
              Balance (06/25)             analysis period. This number represents the running balance in your escrow
                                          account estimated by your monthly payments to escrow minus any tax and
                   $337.31                insurance disbursements made on your behalf.


                     –

            Minimum Amount                 Minimum Amount Required = two months of escrow payments, excluding
                Required                   mortgage insurance, to account for any tax and insurance increases. This
                                           amount is regulated by the Real Estate Settlement Procedures Act (RESPA),
                   $323.34                 your mortgage contract, or state law.


                     =

                 Escrow Surplus            Escrow Surplus Amount = the difference between your lowest projected
                    Amount                 balance and the minimum amount required determines if there is a shortage
                    $13.97                 or surplus in your escrow account.




        Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                        Page 2 of 4
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                                                                                                                                             9811-02-b1-0000980-0002-0002657
                                                      Document     Page 6 of 8             Statement Date: 02/24/25
                                                                                                       Loan number:




ESCROW ACCOUNT HISTORY 05/24 – 04/25
        PAYMENTS TO ESCROW                                 PAYMENTS FROM ESCROW                                  ESCROW BALANCE

Date      Projected          Actual     Projected    Description                Actual Description              Projected          Actual
                                                                                     BEGINNING BALANCE:          $1,357.83      $1,357.83
05/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $8.42 FHA mtg ins                $1,519.50        $161.67
                                             -----                           $1,357.83 Home insurance
06/24        $170.09         $170.09    $1,357.83 * Home insurance               $7.14 FHA mtg ins                $323.34         $324.62
                                            $8.42    FHA mtg ins                  ------
07/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins                $485.01         $487.57
08/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins                $646.68         $650.52
09/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins                $808.35         $813.47
10/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins                $970.02         $976.42
11/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins                $1,131.69      $1,139.37
12/24        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins               $1,293.36       $1,302.32
01/25        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins               $1,455.03       $1,465.27
02/25        $170.09         $170.09        $8.42 * FHA mtg ins                  $7.14 FHA mtg ins               $1,616.70       $1,628.22
03/25        $170.09           ------       $8.42    FHA mtg ins                  ------                         $1,196.05       $1,628.22
                                          $582.32    City tax                     ------
04/25        $170.09           ------       $8.42    FHA mtg ins                  ------                         $1,357.72       $1,628.22
Total      $2,041.08      $1,700.90     $2,041.19                            $1,430.51

An asterisk (*) marks any difference from what was projected in either the amount or date.

Anticipated escrow payments up to escrow analysis effective date:
03/25              $170.09
04/25              $170.09


Anticipated escrow disbursements up to escrow analysis effective date:
03/25                  $7.14 FHA mtg ins
04/25                  $7.14 FHA mtg ins
03/25              $582.32 City tax


                             For more information and resources regarding escrow, login to your Carrington Account and select
                             “Escrow Summary” under “Customer Request” on the left menu.

                             You can also check out our www.CarringtonMortgage.com/learningcenter and search “Escrow” for
                             additional resources.

                             If you prefer to speak with someone, please contact our customer service team at 1-800-561-4567.




Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                                        Page 3 of 4
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ADDITIONAL INFORMATION                                                     SCRA DISCLOSURE-
                                                                           MILITARY PERSONNEL/SERVICEMEMBERS
VERBAL INQUIRIES & COMPLAINTS
                                                                           If you or your spouse is a member of the military, please contact
For verbal inquiries and complaints about your mortgage loan,
                                                                           us immediately. The federal Servicemembers Civil Relief Act and
please contact the CUSTOMER SERVICE DEPARTMENT for Carrington
                                                                           comparable state laws afford significant protections and benefits
Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER
SERVICE DEPARTMENT for Carrington Mortgage Services, LLC is toll           to eligible military service personnel, including protections from
free and you may call from 8:00 a.m. to 9:00 p.m. Eastern Time, Monday     foreclosure as well as interest rate relief. For additional information
through Friday. You may also visit our website at                          and to determine eligibility please contact our Military Assistance
www.CarringtonMortgage.com.                                                Team toll free at 1-888-267-5474.

                                                                           NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED
IMPORTANT BANKRUPTCY NOTICE
                                                                           WRITTEN REQUESTS (QWR)
If you have been discharged from personal liability on the mortgage
                                                                           Written complaints and inquiries classified as Notices of Error and
because of bankruptcy proceedings and have not reaffirmed
                                                                           Information Requests or QWRs must be submitted to Carrington
the mortgage, or if you are the subject of a pending bankruptcy            Mortgage Services, LLC by fax to 1-800-486-5134, or in writing to
proceeding, this letter is not an attempt to collect a debt from you but   Carrington Mortgage Services, LLC, and Attention: Customer Service,
merely provides informational notice regarding the status of the loan.     P.O. Box 5001, Westfield, IN 46074. Please include your loan number on
If you are represented by an attorney with respect to your mortgage,       all pages of the correspondence. You have the right to request
please forward this document to your attorney.                             documents we relied upon in reaching our determination. You may
                                                                           request such documents or receive further assistance by contacting
CREDIT REPORTING AND DIRECT DISPUTES
                                                                           the Customer Service Department for Carrington Mortgage Services,
We may report information about your account to credit bureaus.
                                                                           LLC toll free at 1-800-561-4567, Monday through Friday, 8:00 a.m. to 9:00
Late payments, missed payments, or other defaults on your account
                                                                           p.m. Eastern Time. You may also visit our website at
may be reflected in your credit report. As required by law, you are
                                                                           www.CarringtonMortgage.com.
hereby notified that a negative credit report reflecting on your credit
record may be submitted to a credit reporting agency if you fail
to fulfill the terms of your credit obligations. If you have concerns
regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute
to Carrington Mortgage Services, LLC by fax to 1-800-486-5134 or in
writing to Carrington Mortgage Services, LLC, and Attention:Customer
Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan
number on all pages of the correspondence.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose
of collecting a debt and any information obtained will be used for
that purpose. This notice is required by the provisions of the Fair Debt
Collection Practices Act and does not imply that we are attempting to
collect money from anyone who has discharged the debt under the
bankruptcy laws of the United States.

HUD COUNSELOR INFORMATION
If you would like counseling or assistance, you may obtain a list
of HUD-approved homeownership counselors or counseling
organizations in your area by calling the HUD nationwide toll-free
telephone number at 1-800-569-4287 or toll-free TTY 1-800-877-8339,
or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You
can also contact the CFPB at 1-855-411-2372, or by going to www.
consumerfinance.gov/find-a-housing-counselor.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because
all or part of the applicant’s income derives from any public assistance
program; or because the applicant has, in good faith, exercised any
right under the Consumer Credit Protection Act. The Federal Agency
that administers Carrington Mortgage Services, LLC’s compliance with
this law is the Federal Trade Commission. Equal Credit Opportunity.
Washington, DC 20580.




Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                                                     Page 4 of 4
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                      UNITED STATES BANKRUPTCY COURT
              EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)
                 _______________________________________________

In Re:                                                              Case No: 21-13236 - Chapter: 13
                                                                      Judge: Magdeline D. Coleman
Sharon Smith

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on March 19, 2025, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Sharon Smith                       Debtor's Attorney                Chapter 13 Trustee
217 W. Spencer Avenue              Michael I. Cibik                 Kenneth E. West
Philadelphia, PA 19120             1500 Walnut St                   190 N. Independence Mall West
                                   Ste 900                          Suite 701
                                   Philadelphia, PA 19102           Philadelphia, PA 19106


                                                                    U.S. TrusteeUnited States Trustee
                                                                    900 Market Street
                                                                    Suite 320
                                                                    Philadelphia, PA 19107




The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
